1A
 101-7-TDR
 /2009
 /2010
 2ems Inc.
                                                UNITED STATES BANKRUPTCY COURT
                                                      DISTRICT OF OREGON
                                                       PORTLAND DIVISION


              In re:                                          §
                                                              §
              Elbert G Garboden                               §      Case No. 15-35133-RLD7
              Sherry L Garboden                               §
                                                              §
                                  Debtors                     §

                              CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                              REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                              ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                      AMY MITCHELL, chapter 7 trustee, submits this Final Account, Certification that the
              Estate has been Fully Administered and Application to be Discharged.

                      1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
              and, if applicable, any order of the Court modifying the Final Report. The case is fully
              administered and all assets and funds which have come under the trustee’s control in this case
              have been properly accounted for as provided by law. The trustee hereby requests to be
              discharged from further duties as a trustee.

                     2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
              discharged without payment, and expenses of administration is provided below:


              Assets Abandoned: 0.00                                 Assets Exempt: 270,132.26
              (Without deducting any secured claims)

              Total Distributions to Claimants: 3,692.27             Claims Discharged
                                                                     Without Payment: 390,743.92

              Total Expenses of Administration: 1,307.73


                      3) Total gross receipts of $ 5,000.00 (see Exhibit 1), minus funds paid to the debtor and
              third parties of $ 0.00 (see Exhibit 2), yielded net receipts of $ 5,000.00 from the liquidation of
              the property of the estate, which was distributed as follows:




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                                                  CLAIMS            CLAIMS                  CLAIMS               CLAIMS
                                                SCHEDULED          ASSERTED                ALLOWED                PAID



SECURED CLAIMS
(from Exhibit 3)                                  $ 329,307.20               $ 0.00                $ 0.00                   $ 0.00

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                         NA              1,307.73             1,307.73                 1,307.73

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                 NA                   NA                   NA                       NA

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                             8,791.26             7,087.26             7,087.26                 3,692.27

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                              73,700.42            43,289.94            43,289.94                      0.00

TOTAL DISBURSEMENTS                               $ 411,798.88        $ 51,684.93            $ 51,684.93                $ 5,000.00


                  4) This case was originally filed under chapter 7 on 10/31/2015 . The case was pending
          for 14 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 12/20/2016                        By:/s/AMY MITCHELL
                                                                                 Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                                EXHIBITS TO
                                                              FINAL ACCOUNT


               EXHIBIT 1 – GROSS RECEIPTS

                              DESCRIPTION                                   UNIFORM                                    $ AMOUNT
                                                                           TRAN. CODE1                                 RECEIVED

    Real Property                                                              1110-000                                     5,000.00

TOTAL GROSS RECEIPTS                                                                                                      $ 5,000.00
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


               EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                       PAYEE                                     DESCRIPTION                         UNIFORM           $ AMOUNT
                                                                                                    TRAN. CODE            PAID

NA                                                                                                      NA                        NA

TOTAL FUNDS PAID TO DEBTOR &                                                                                                   $ NA
THIRD PARTIES


               EXHIBIT 3 – SECURED CLAIMS

                                                    UNIFORM       CLAIMS
                                                                                    CLAIMS               CLAIMS
CLAIM NO.                 CLAIMANT                   TRAN.     SCHEDULED                                               CLAIMS PAID
                                                                                   ASSERTED             ALLOWED
                                                     CODE     (from Form 6D)

                Bank of America PO Box
                650070 Dallas, TX 75265-
                0070                                                264,674.24                 NA                 NA              0.00


                Citi Mortgage PO Box 689196
                Des Moines, IA 50368-9196                            60,172.35                 NA                 NA              0.00


                Les Schwab PO Box 5350
                Bend, OR 97708                                        1,336.45                 NA                 NA              0.00




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                                                UNIFORM        CLAIMS
                                                                                CLAIMS             CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.      SCHEDULED                                              CLAIMS PAID
                                                                               ASSERTED           ALLOWED
                                                 CODE      (from Form 6D)

             Wells Fargo Dealer Services
             PO Box 25341 Santa Ana, CA
             92799-5341                                            3,124.16                NA               NA               0.00

TOTAL SECURED CLAIMS                                           $ 329,307.20              $ 0.00           $ 0.00           $ 0.00


             EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                         UNIFORM
                                                            CLAIMS             CLAIMS              CLAIMS
              PAYEE                       TRAN.                                                                    CLAIMS PAID
                                                          SCHEDULED           ASSERTED            ALLOWED
                                          CODE

AMY MITCHELL                              2100-000                    NA           1,250.00           1,250.00           1,250.00


AMY MITCHELL                              2200-000                    NA              27.73              27.73             27.73


Union Bank                                2600-000                    NA              30.00              30.00             30.00

TOTAL CHAPTER 7 ADMIN. FEES                                         $ NA          $ 1,307.73         $ 1,307.73        $ 1,307.73
AND CHARGES



             EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                         UNIFORM
                                                            CLAIMS             CLAIMS              CLAIMS
              PAYEE                       TRAN.                                                                    CLAIMS PAID
                                                          SCHEDULED           ASSERTED            ALLOWED
                                          CODE

NA                                              NA                    NA                 NA                 NA               NA

TOTAL PRIOR CHAPTER ADMIN.                                          $ NA               $ NA               $ NA              $ NA
FEES AND CHARGES



             EXHIBIT 6 – PRIORITY UNSECURED CLAIMS




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                                                             CLAIMS             CLAIMS
                                                UNIFORM
                                                           SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                            (from Form       (from Proofs of     ALLOWED
                                                 CODE
                                                                6E)              Claim)

            ODR 955 Center Street, NE
            Room 353 Attn: Bankruptcy
            Unit Salem, OR 97301                                      0.00                 NA              NA              0.00


            INTERNAL REVENUE
1A          SERVICE                             5800-000         8,791.26             7,087.26       7,087.26         3,692.27

TOTAL PRIORITY UNSECURED                                        $ 8,791.26          $ 7,087.26      $ 7,087.26       $ 3,692.27
CLAIMS



            EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                             CLAIMS             CLAIMS
                                                UNIFORM
                                                           SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                            (from Form       (from Proofs of     ALLOWED
                                                 CODE
                                                                6F)              Claim)

            Bank of America PO Box
            851001 Dallas, TX 75285-
            1001                                                14,751.79                  NA              NA              0.00


3           CREDIT FIRST NA                     7100-000           852.55               903.53         903.53              0.00


            ONPOINT COMMUNITY
4           CREDIT UNION                        7100-000        16,700.00             2,470.91       2,470.91              0.00


            ONPOINT COMMUNITY
5           CREDIT UNION                        7100-000         4,719.06             4,749.79       4,749.79              0.00


            Portfolio Recovery
7           Associates, LLC                     7100-000         2,183.07             2,183.07       2,183.07              0.00




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                                                             CLAIMS             CLAIMS
                                                UNIFORM
                                                           SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                            (from Form       (from Proofs of     ALLOWED
                                                 CODE
                                                                6F)              Claim)

            Portfolio Recovery
8           Associates, LLC                     7100-000           746.37               764.28         764.28             0.00


2           PYOD LLC                            7100-000           132.22               160.37         160.37             0.00


6           Wells Fargo Card Services           7100-000        24,824.10           24,970.73       24,970.73             0.00


            INTERNAL REVENUE
1B          SERVICE                             7300-000          8,791.26            7,087.26        7,087.26            0.00

TOTAL GENERAL UNSECURED                                        $ 73,700.42        $ 43,289.94      $ 43,289.94           $ 0.00
CLAIMS




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                                                                                         FORM 1
                                                                     INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                      ASSET CASES
                                                                                                                                                                                                         Exhibit 8
Case No:              15-35133                       RLD             Judge:        Randall L. Dunn                             Trustee Name:                      AMY MITCHELL
Case Name:            Elbert G Garboden                                                                                        Date Filed (f) or Converted (c):   10/31/2015 (f)
                      Sherry L Garboden                                                                                        341(a) Meeting Date:               12/07/2015
For Period Ending:    12/20/2016                                                                                               Claims Bar Date:                   05/10/2016


                                   1                                              2                            3                            4                          5                             6

                         Asset Description                                      Petition/                Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                         Unscheduled            (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                                Values                Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                          Exemptions,                                                                              Assets
                                                                                                        and Other Costs)

  1. Real Property                                                                    324,015.00                        0.00                                                5,000.00                           FA

     12054 Chapin Court, Oregon City, OR 97045 Value per zillow
     (does not account for repairs needed: roof and floors)
     Debtors waived exemption for Estate to convey its interest to
     Turning Leaf Homes for $5,000 and payment to Debtors of
     $5,000 plus $1,000 for Debtors' attorney fees.
  2. Cash                                                                                   275.00                      0.00                                                       0.00                        FA
  3. Financial Account                                                                  4,290.00                        0.00                                                       0.00                        FA

     Wells Fargo
     Balance at filing $4,388.03
  4. Financial Account                                                                        9.00                      0.00                                                       0.00                        FA

     OnPoint Credit Union savings
     Balance at filing $414.26
  5. Household Goods & Electronics                                                      1,500.00                        0.00                                                       0.00                        FA
  6. Books, Artwork & Knick Knacks                                                          200.00                      0.00                                                       0.00                        FA
  7. Clothing                                                                               500.00                      0.00                                                       0.00                        FA
  8. Jewelry                                                                            1,000.00                        0.00                                                       0.00                        FA
  9. Firearms                                                                               700.00                      0.00                                                       0.00                        FA

     30/40 Craig 1898 Springfield Army Rifle $700
 10. Insurance Policies                                                                       0.00                      0.00                                                       0.00                        FA

     Term Life Insurance through W's employer (no value)
 11. Retirement Account                                                                84,206.00                        0.00                                                       0.00                        FA

     First Interstate retirement (estimate)
 12. Retirement Account                                                               159,022.00                        0.00                                                       0.00                        FA

     Wells Fargo 401(k) (estimate)




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                                                                                FORM 1
                                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                             ASSET CASES
                                                                                                                                                                                                Exhibit 8
Case No:               15-35133                       RLD   Judge:        Randall L. Dunn                             Trustee Name:                      AMY MITCHELL
Case Name:             Elbert G Garboden                                                                              Date Filed (f) or Converted (c):   10/31/2015 (f)
                       Sherry L Garboden                                                                              341(a) Meeting Date:               12/07/2015
For Period Ending:     12/20/2016                                                                                     Claims Bar Date:                   05/10/2016


                                    1                                    2                            3                            4                          5                             6

                           Asset Description                           Petition/                Est Net Value              Property Formally             Sale/Funds                     Asset Fully
               (Scheduled and Unscheduled (u) Property)              Unscheduled            (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                       Values                Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                 Exemptions,                                                                              Assets
                                                                                               and Other Costs)

 13. Pension                                                                       0.00                        0.00                                                       0.00                        FA

     PERS Monthly net: $2924.68
 14. Tax Refunds                                                                   0.00                        0.00                                                       0.00                        FA

     Potential 2015 Tax Refund (unknown)
 15. Wages                                                                         0.00                        0.00                                                       0.00                        FA
 16. Wages                                                                         0.00                        0.00                                                       0.00                        FA
 17. Vehicle                                                                   2,435.00                        0.00                                                       0.00                        FA

     1999 Ford Expedition V8 (158k miles est)
 18. Vehicle                                                                   2,645.00                        0.00                                                       0.00                        FA

     2006 Mazda 5 (175k miles est)
 19. Trailer                                                                       0.00                        0.00                                                       0.00                        FA

     2010 Open Range Trailer
 20. Misc.                                                                     1,336.45                        0.00                                                       0.00                        FA

     Tires and Brakes
 21. Animals                                                                       0.00                        0.00                                                       0.00                        FA

     2 pet dogs not used for breeding (no value)
 22. Preference                                                                6,934.92                        0.00                                                       0.00                        FA

     Payments to Bank of America
     Regular monthly payments to secured creditor (home).
     Ordinary course.
 23. Preference                                                                1,697.85                        0.00                                                       0.00                        FA

     Payments to Citi Mortgage
     Regular monthly payments to secured creditor (home -
     second). Ordinary course.




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                                                                                           FORM 1
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES
                                                                                                                                                                                                           Exhibit 8
Case No:              15-35133                         RLD            Judge:        Randall L. Dunn                              Trustee Name:                      AMY MITCHELL
Case Name:            Elbert G Garboden                                                                                          Date Filed (f) or Converted (c):   10/31/2015 (f)
                      Sherry L Garboden                                                                                          341(a) Meeting Date:               12/07/2015
For Period Ending:    12/20/2016                                                                                                 Claims Bar Date:                   05/10/2016


                                   1                                                2                           3                             4                          5                             6

                         Asset Description                                       Petition/                Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                 Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                           Exemptions,                                                                               Assets
                                                                                                         and Other Costs)

 24. Preference                                                                            1,668.21                       0.00                                                       0.00                        FA

     Payments to Wells Fargo Card Service
     Regular monthly payments to unsecured creditor (cc -
     minimum). Ordinary course.
 25. Preference                                                                            1,158.00                       0.00                                                       0.00                        FA

     Payments to Bank of America
     Regular monthly payments to unsecured creditor (cc -
     minimum). Ordinary course.


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                     $593,592.43                     $0.00                                                $5,000.00                         $0.00
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:




  Initial Projected Date of Final Report (TFR): 12/15/2016            Current Projected Date of Final Report (TFR): 12/15/2016




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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 15-35133                                                                                                 Trustee Name: AMY MITCHELL                                              Exhibit 9
      Case Name: Elbert G Garboden                                                                                             Bank Name: Union Bank
                   Sherry L Garboden                                                                                  Account Number/CD#: XXXXXX7569
                                                                                                                                             Checking
  Taxpayer ID No: XX-XXX7324                                                                                Blanket Bond (per case limit): $65,574,033.00
For Period Ending: 12/20/2016                                                                               Separate Bond (if applicable):


       1                2                              3                                              4                                                      5                   6                     7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction                Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                           ($)
   04/20/16             1         Turning Leaf Homes                        Real Estate Proceeds                                      1110-000                $5,000.00                                 $5,000.00

   05/25/16                       Union Bank                                Bank Service Fee under 11                                 2600-000                                        $15.00            $4,985.00
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   06/27/16                       Union Bank                                Bank Service Fee under 11                                 2600-000                                        $15.00            $4,970.00
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   11/15/16            101        AMY MITCHELL                              Final distribution representing a                         2100-000                                    $1,250.00             $3,720.00
                                  P.O. Box 2289                             payment of 100.00 % per court
                                  Lake Oswego, OR 97035                     order.
   11/15/16            102        AMY MITCHELL                              Final distribution representing a                         2200-000                                        $27.73            $3,692.27
                                  P.O. Box 2289                             payment of 100.00 % per court
                                  Lake Oswego, OR 97035                     order.
   11/15/16            103        INTERNAL REVENUE SERVICE                  Final distribution to claim 1                             5800-000                                    $3,692.27                 $0.00
                                  PO BOX 7346                               representing a payment of
                                  Philadelphia, PA 19101-7346               52.10 % per court order.


                                                                                                              COLUMN TOTALS                                   $5,000.00           $5,000.00
                                                                                                                      Less: Bank Transfers/CD's                   $0.00                $0.00
                                                                                                                Subtotal                                      $5,000.00           $5,000.00
                                                                                                                      Less: Payments to Debtors                   $0.00                $0.00
                                                                                                                Net                                           $5,000.00           $5,000.00




                                                                                    Page Subtotals:                                                           $5,000.00           $5,000.00
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                                                                                                                                                                    Exhibit 9
                                                                                               TOTAL OF ALL ACCOUNTS
                                                                                                                                               NET             ACCOUNT
                                                                                                             NET DEPOSITS       DISBURSEMENTS                   BALANCE
                                            XXXXXX7569 - Checking                                                  $5,000.00              $5,000.00                 $0.00
                                                                                                                   $5,000.00              $5,000.00                 $0.00

                                                                                                           (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                   transfers)            to debtors)
                                            Total Allocation Receipts:                            $0.00
                                            Total Net Deposits:                                $5,000.00
                                            Total Gross Receipts:                              $5,000.00




                                                                    Page Subtotals:                                               $0.00                $0.00
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